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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

__________________________________________
                                          )
UNITED STATES OF AMERICA,                 )
                                          )
            v.                            )                 Criminal No. 12-0195 (ESH)
                                          )
UCHE BEN ODUNZEH,                         )
                                          )
      Defendant.                          )
__________________________________________)


                                            ORDER

       Before the Court is defendant Uche Ben Odunzeh’s Motion for Return of Passport [ECF

No. 23]. The Office of the United States Attorney and the United States Probation Office have

represented to the Court that they take no position on the motion. Accordingly, it is hereby

       ORDERED that the U.S. Pretrial Services Agency shall return Mr. Odunzeh’s passport

to him, through his mother.

       SO ORDERED.



                                                    /s/ Ellen Segal Huvelle
                                                    ELLEN SEGAL HUVELLE
                                                    United States District Judge

Date: October 15, 2014
